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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


CENTER FOR BIOLOGICALDIVERSITY,

   Plaintiff,
                                                   Case No: 9:21-cv-00144-DWM
      v.
                                                   NOTICE OF APPEARANCE
U.S. FISH AND WILDLIFE SERVICE;
MARTHA WILLIAMS, in her official
capacity as Principal Deputy Director of the
U.S. Fish and Wildlife Service;
U.S. DEPARTMENT OF THE INTERIOR;
and DEB HAALAND, in her official capacity
as Secretary of the U.S. Department of the
Interior,

   Defendants.


      Please take notice that Kaitlyn Poirier of the United States Department of Justice

enters her appearance as counsel in the above-captioned matter for Defendants the

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U.S. Fish and Wildlife Service; Martha Williams, in her official capacity as Principal

Deputy Director of the U.S. Fish and Wildlife Service; the U.S. Department of the

Interior; and Deb Haaland, in her official capacity as Secretary of the U.S.

Department of the Interior. Ms. Poirier is registered for Electronic Case Filing

(“ECF”). Relevant addresses, telephone numbers, and contact information for Ms.

Poirier are as follows:

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Dated: February 4, 2022

                           Respectfully submitted,

                           TODD KIM, Assistant Attorney General
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                           S. JAY GOVINDAN, Assistant Section Chief

                           /s/ Kaitlyn Poirier
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                           Attorney for Defendants




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                        CERTIFICATE OF SERVICE

      I hereby certify that on February 4, 2022, a true and correct copy of the

above Notice of Appearance was electronically filed with the Clerk of Court using

the CM/ECF system, which will send notification of this filing to the attorneys of

record.

                    /s/ Kaitlyn Poirier
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